                                                                         Balance Sheet
Pamela J Sellner                                                                       09/12/2014
Thomas J Sellner
Cust.#


     Current Assets                                                                                       Current Liabilities
Cash & Equivalents                                                                     966"" fAccounts Payable                                                                     38,313.
Crop Inventory                                                                       3,600* iCur. Portion Term Debt- Ours                                                           5,806.
Growing Crops                                                                        4,000* jAccrued Interest                                                                         170.
Market Livestock & Poultry                                                           3,2oo·:

Total Current Assets                                                                11,766 ffotal Current Liabilities                                                              44,289
     Intermediate Assets                                                                     i            Intermediate Liabilities
Machinery & Equipment                                                              91,700*1
Vehicles                                                                           26 55o•l
Raised Breeding Stock                                                             119'ooo·i
Purchased Breeding Stock                                                           12,2oo·!
Not Readily Mkt. Bonds & Sec.                                                      25,367. i
Other Intermediate Assets                                                          95,920*   l
Total Intermediate Assets                                                         370,737 jfotallntermediate Liabilities                                                                  0
     Long Term Assets                                                                                     Long Term Liabilities
Buildings & Improvements                                                           26,200• !Long Term Debt- Ours                                                                 131,108.
Real Estate- Land                                                                 264,7oo· j

Total Long T enn Assets                                                                      '
                                                                                  290,900 !fotal Long Term Liabilities                                                           131,108
TOTAL ASSETS                                                                      673,403    !TOTAL LIABILITIES                                                                  175,397
,. Scheduled Account
                                                                                             !TOTAL EQUITY                                                                      498,006~
                                                                                             ~=:;;;;;;;       -~---~'@oW~,--M-ii-~nmffi~mM-\\1L'%\%Mf;




I (We) certify that the information on this balance sheet and supporting schedules is true and correct to the best of my (our) knowledge. I (We) understand that all lending decisions will
be based upon the lender's independent analysis of the information contained wi1hin this financial statement. By signing below I authorize NXT Bank to check my credit and
employment history and to answer questions others may ask about my credit record with you. Creditors and employers are hereby authorized to disdose to NXT Bank any information
relative to any of my accounts or employment history. I will notify NXT Bank prompUy if there is a material change in my financial condition. By signing below, aU parties indicate that
any credit applied for         nded ~sed ~Jhe.in~rmation contained herein is intended to be joint          :fdit       _,
Signature:                           '    c>       1                                      Date:            ~- Z{- ti-




9/18/20141:28:51 PM                                                      City State Bank Central City lA                                                                    Page 1 of 1

                       Case 6:14-cv-02034-JSS Document 70-50 Filed 10/16/15 Page 1 of 5
                                                                             Case #C14-2034-JSS                                              EXHIBIT 51 PAGE 0001
                                      ""alance Sheet Schedulef
                                                     09/1212014
 Pamela J Sellner
 Thomas J Sellner
 Gust.#

 Cash & Equivalents                                                                           Value    Adj. Val.               Col.
 NXT  Checkin~                                                                                  510          510
 Savings                                                                                        456          456
                                                                                                966          966


                                                                                   Basis
 Hay- Dry                                             48.00
                                             Bale _ _..:.::;=         75.00          Unit     3.600        3,600               Yes
                                                        48.00                                 3,600        3,600
 --~~··-->~N-~--~~•w•-
                                                      #Acres      Cost/Acre        c;,~~~=fi~-;;-"m"--Adj:-Vaf'                Col.
 Growing Crops
                                                                                   Basis
 Corn - Silage                                          10.00        400.00         Unit      4.000       4,000                Yes
                                                        10.00                                 4,000       4,000
 ---------
 Market Livestock & Poultry                 #Head     Weight       Per Unit         Calc.
                                                                                            ~-·---·---·"•
                                                                                              Value    Adj. Val.               Col.
                                                                                   Basis
 Dairy Cattle- Calves- Bull                     8      200.00       400.00           HD       3,200       3,200
                                                8                                             3,200       3,200
---"-"~'~"··-~-~-·---·,.~----                                                                  ·-·-·~·~.,--~-~.,.~-------~-
Machinery & Equipment                 Qty   Con d.       Year                 Ace. Depr.      Value    Adj. Val.               Col.
Grain Auger                                                                                     100         100                Yes
Disk- JD 13'                                                                                    BOO         800                Yes
Backhoe Attachement                                                                           1,200       1.200                Yes
Chisel Plow                                                                                   1,200       1,200                Yes
Post Hole Digger-Hydraulic                                                                      500         500                Yes
Booster Pump                                                                                    500         500              ·Yes
!H 4 row air planter                                                                            400         400               Yes
Skid Loader - Case 1840                                                                       6,000       6,000               Yes
Spreader- Nl                                                                                  3,000       3,000               Yes
Feeder Wagon W/Scale                                                                          1,500       1,500               Yes
TMR Wagon - LuckNow                                     2005                                 10.000      10,000               Yes
Case Skidloader 1845C                   1                                                     8,000       8,000               Yes
Milking Units & Takeoffs                8                                                     5,000       5,000               Yes
Milking Pump- Oelavel                                                                         1,500       1,500               Yes
Bulk Tank- Mueller 900 Gal                                                                    6,000       6,000               Yes
Tilt Table To Trim Hooves                                                                     1,000       1,000               Yes
Plate Cooler- Delavel                                                                         1.500       1,500               Yes
Construction Tools                                                                            8.000       8,000               Yes
Lawn Mower                                                                                    2,000       2,000               Yes
Tractors-Diesel- White 105                                                                    8,000       8,000               Yes
Tractor- Oliver 1650                                                                          2.500       2,500               Yes
Zoo Equipment                                                                                13,000      13,000               Yes
Monkey Bldg., Run, Cages                                                                      5,000       5.000               Yes
Lion Pens                                                                                     5.000       5,000               Yes
                                                                                             91,700      91,700
----·~.,-~~~-·-~~--~--~·---~~~~-~~·-~---~---M-0----------~----~---"~~ '"-~w-•••••-~·~~m"'""-.,.--~-~----~-
Vehicles                              Qty   Cond.       Year                  Ace. Depr.     Value     Adj. Val.              Col.
Truck -GMC 11 Ton 1989                                  1989                                   500          500
Pickup- Chevrolet Silverado 2001        1               2002                                 7,000        7.000
2002 314 Tn Chev 2500 HD               1                                                    10,000       10,000
1989 Dodge with New Engine                                                                   1,500        1,500
1997 Chevy S10 Pickup New Engine                                                             1,500        1,500
2010
Cargo Trailer                                                                                1,000        1,000
Livestock Trailer-Gooseneck- 22'                                                             1.000        1,000
Livestock Trailer-Gooseneck- 20'                                                             1,200        1,200
Flatbed Trailer~ Construction                                                                1,800        1,800
Car Trailer                                                                                    250          250
Trailer- Pull Type                                                                             BOO          800
                                                                                            26,550      26,550



9118/20141:29:10PM                          City State Bank Central City lA                                             Page 1 of4
                                                                                                            Version 14.22.524.3209
                    Case 6:14-cv-02034-JSS Document 70-50 Filed 10/16/15 Page 2 of 5
                                              Case #C14-2034-JSS                               EXHIBIT 51 PAGE 0002
                                                 1alance Sheet Schedule
                                                                 09/12/2014
Pamela J Sellner
Thomas J Sellner
Cust. #

Raised Breeding Stock

Cattle ~ Brdg. - Bulls ~ Holstein Bull
Dairy Cattle - Calves~ Baby Calf- 0-9 Months
Dairy Cattle~Brdg. - Cows - Cows
Dairy Cattle-Brdg.- Heifers- Open- Heifers- 10-15
                                                        #Head


                                                            8
                                                           42
                                                           12
                                                                   PerHd

                                                                 1.600.00
                                                                   800.00
                                                                 1,800.00
                                                                 1,000.00
                                                                                 Calc .
                                                                                 Basis
                                                                                   HD
                                                                                   HD
                                                                                   HD
                                                                                   HD
                                                                                                        Value

                                                                                                         1,600
                                                                                                         6,400
                                                                                                        75,600
                                                                                                        12,000
                                                                                                                 ......
                                                                                                                     6,400
                                                                                                                    75,600
                                                                                                                    12,000
                                                                                                                                        Col.

                                                                                                                                        Yes
                                                                                                                                        Yes
                                                                                                                                        Yes
                                                                                                                                        Yes
mos
Dairy Cattle-Brdg. - Heifers-Springing - Heifers- 16-      13    1,800.00          HD                   23,400      23,400              Yes
24 mos
                                                           76                                          119,000    119,000
--~~-n,•--~""~·--~~-
Purchased Breeding Stock                                #Head      PerHd         Calc. Ace. Depr.       Value     Adj, Val.             Col.
                                                                                 Basis
Cattle- Brdg. - Bulls- Brangus                                   1,800.00          HD                    1,800       1,800              Yes
Cattle- Brdg. - Heifers- Brahma Heifers                     3    1,800.00          HD                    5,400       5,400              Yes
Horses & Equines - Other- Other                            10      500.00          HD                    5,000       5,000              Yes
                                                           14                                           12,200      12,200
--·---·---·-··--··-·--------·--
Not Readily Mkt. Bonds & Sec.
                               ·-----------------------
                                                  Value Adj. Val.                                                                       Col.
DHIA Retirement- 0                                                                                      24,867      24,867
S & R Retirement Account- 0                                                                                500         500
                                                                                                        25,367      25,367
                                                                                                             -~~-------------
Other Intermediate Assets                                                                 Ace. Depr.    Value     Adj. Val.             Cot
1 Alexandrian Parrot                                                                                      100          100              Yes
1 Alligator                                                                                               400          400              Yes
1 Armadillo                                                                                               150          150              Yes
1 Black Jack                                                                                              100          100              Yes
1 Blue & Gold Macaw                                                                                       800          800              Yes
1 Blue Tongue Skinks                                                                                      100          100              Yes
1 Bobcat                                                                                                1,300        1,300              Yes
1 Box Tortoise                                                                                             75           75              Yes
1 Burmese Python                                                                                          300          300              Yes
1 CCJ,pybara                                                                                              600          600              Yes
1 Columbia Redtailed Boa 1 Dum                                                                            350          350              Yes
1 Cougar                                                                                                1,800        1,800              Yes
1 Dromedary Camel                                                                                       3,500        3,500              Yes
1 Fallow Deer                                                                                             500          500              Yes
1 Green Wing Macaw                                                                                      1,200        1,200              Yes
1 Greencheek Conure                                                                                       150          150              Yes
1 Leaf Eater Turtle                                                                                        50           50              Yes
1 Love Birds                                                                                               75           75              Yes
1 Mara                                                                                                    250          250              Yes
1 Moluucan Cockatoo                                                                                       950          950              Yes
1 Ostrich                                                                                                 400          400              Yes
1 Pac mon Frog                                                                                             45           45              Yes
1 Quaker                                                                                                  150          150              Yes
1 Red Ruff Lemur                                                                                        3,500        3,500              Yes
1 Russian Tortoise                                                                                         80           80              Yes
1 Savannah Monitors                                                                                       120          120              Yes
1 Serval                                                                                                3,000        3,000              Yes
1 Skunk                                                                                                   300          300              Yes
1 Sloth                                                                                                 2,500        2,500              Yes
1 Sulcatta Tortoise                                                                                       400          400              Yes
1 Tokay Gecko                                                                                              40           40              Yes
1 Umbrella Cockatoo                                                                                       800          800              Yes
1 Vervet                                                                                                1,500        1,500              Yes
1 Vervet                                                                                                1,500        1,500              Yes
1 Wallaby                                                                                               1,000        1,000              Yes
1 Watusi                                                                                                1,500        1,500              Yes
1 White Face Capuchins                                                                                  3,500        3,500              Yes
1 White Mule                                                                                              150          150              Yes

9/18/20141:29:10 PM                                      City State Bank Central City lA                                          Page 2 of4
                    Case 6:14-cv-02034-JSS Document 70-50 Filed 10/16/15 Page 3 of 5 Version 14.22.524.3209
                                                            Case #C14-2034-JSS                             EXHIBIT 51 PAGE 0003
                                            ialance Sheet Schedule:
                                                           09/12/2014
Pamela J Sellner
Thomas J Sellner
Gust.#

1 Zee Dank                                                                                              300           300               Yes
10 Degu                                                                                                  70            70               Yes
11 Peafowl                                                                                            1,000        1,000                Yes
13 Dove/Pigeons                                                                                         260          260                Yes
15 Finches                                                                                              130          130                Yes
2 Black Bears                                                                                           600          600                Yes
2 Bourbon Red Turkey                                                                                    100          100                Yes
2 Bush Babies                                                                                         5,000        5,000                Yes
2 Coatimundi                                                                                            400          400                Yes
2 Cockateil Breeders                                                                                    150          150                Yes
2 Day Geckos                                                                                             40            40               Yes
2 Fennec Foxes                                                                                        2,400        2,400                Yes
2 Lemurs Ring Tail                                                                                    2,500        2,500                Yes
2 Meishan Pigs + Piglets                                                                                430          430                Yes
2 Military Macaw                                                                                      1,600        1,600                Yes
2 Porcupine African Crested                                                                           1,400        1,400                Yes
2 Red Eared Slider Turtles                                                                               80            80               Yes
2 Red Foot Tortoise                                                                                     800          800                Yes
2 Rhesus Macaques                                                                                     3,600        3,600                Yes
2 Woodchucks                                                                                            600          600                Yes
2 Zebu Cows                                                                                           1,200        1,200                Yes
20 Parakeets                                                                                            200          200                Yes
22 Goats                                                                                              1,600        1,600                Yes
23 4 horns                                                                                            3,000        3,000                Yes
24 Santa Cruz Sheep                                                                                   2,600        2,600                Yes
28 chickens & guiena                                                                                    200          200                Yes
3 African Lions                                                                                       3,000        3,000                Yes
3 Ball Pythons                                                                                          210          210                Yes
3 Barbadoes Sheep                                                                                       300          300                Yes
3 Corn Snake                                                                                            250          250                Yes
3 Leopard Geckos                                                                                      1,800        1,800                Yes
3 Mini Donkeys                                                                                          450          450                Yes
3 Mini Horses                                                                                           225          225                Yes
3 Potbelly Pigs                                                                                         150          150                Yes
3 Racoon                                                                                                300          300                Yes
3 Scottish Highlanders                                                                                3,000        3,000                Yes
3 Timber Wolves                                                                                         400          400                Yes
4 Guinea Pigs                                                                                            90            90               Yes
4 Hamadryas Baboons                                                                                   8,000        8,000                Yes
4 Pearl Cockatiel                                                                                       250          250                Yes
4 Standard Donkey                                                                                       750          750                Yes
5 Canada Geese                                                                                          200          200                Yes
5 Kikajou                                                                                             7,500        7,500                Yes
5 Llamas                                                                                                750          750                Yes
6 Kingsnakes                                                                                            600          600                Yes
7 T.igers                                                                                             3,500        3,500                Yes
irian jaya python                                                                                       200          200                Yes
Panther Chameleon                                                                                       200          200                Yes
Python                                                                                                  300          300                Yes
                                                                                                     95,920       95,920



Education Center                                                                                     25,000      25,000
Round Pen Corale Gates                                                                      ----~1~,2~0~0   ____~1~,2~00~
                                                                                                     26,200      26,200
Re;'!"E'Stat~:Lan   d---To~r·~-~Crap--~------Per~··-c~TC~~-~-v;ar       Ass~~~~;dACC.   oep-,_----   Vai~~-"'"""-Ad}~V~c-   """-- .,,   Col.
                         Acres     Acres   Acre    Basis       Pur.        Value
Tom & Pam                     20      10   7,800   Total                                         264,700         264,700                Yes
                              20   10.00                                                         264,700         264,700

9/18/20141:29:10 PM                                City State Bank Central City lA                                                Page 3 of4
                                                                                                                     Version 14.22.524.3209
                    Case 6:14-cv-02034-JSS Document 70-50 Filed 10/16/15 Page 4 of 5
                                                     Case #C14-2034-JSS                                EXHIBIT 51 PAGE 0004
                                                 "1alance Sheet Schedule
                                                                 09/1212014
Pamela J Sellner
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Cust. #

Accounts Payable                                                                                            Value           Adj. Val.
Credit Cards                                                                                                32,313            32,313
Petersburg Feedmill                                                                                          6,000             6,000
                                                                                                            38,313            38,313
Loan Schedule--·-·-Purpose_______                 TnLAccrU~d         Cur. Port.   Non-Cur.         Total          P. & I.               Pmt.     Mature
                                                  Rate    Interest   Prin. Due    Prin. Bal.   Prin. Bal.          Pmt.                 Date        Date
NXT Bank              L.T.   Refinance of Debt    6.40        170        5,806     131,108      136,914          14,400                        09/18/2014
54927
                                                              170        5,806      131,108     136,914         14,400
R = Refinanced Loans
P = Prior Liens




9118/20141:29:10 PM                                      City State Bank Central City lA                                                    Page4of4
                   Case 6:14-cv-02034-JSS Document 70-50 Filed 10/16/15 Page 5 of 5                                               ersion 14.22.524.3209


                                                            Case #C14-2034-JSS                                 EXHIBIT 51 PAGE 0005
